
SILBERMAN, Judge.
R.C.M. appeals an order withholding adjudication and imposing probation following his no contest plea to possession of marijuana. He argues that his disposition order is illegal because his probationary term exceeds the maximum sentence that could lawfully be imposed.
*412We affirm because R.C.M. failed to preserve this issue for appeal. See Fla. R. Juv. P. 8.135; Brannon v. State, 850 So.2d 452, 456 (Fla.2003) (noting that even fundamental sentencing error cannot be raised on appeal without first being preserved by objection or motion to correct sentence); D.M.W. v. State, 823 So.2d 139, 140 (Fla. 2d DCA 2002) (reiterating that preservation of error is required in juvenile proceedings); I.B. v. State, 816 So.2d 230, 231 (Fla. 5th DCA 2002) (emphasizing that errors in juvenile disposition orders, including fundamental errors, must be properly preserved and corrected in accordance with rule 8.135). Our affirmance is without prejudice to R.C.M. filing a motion to correct disposition order pursuant to Florida Rule of Juvenile Procedure 8.135(a).
Affirmed.
NORTHCUTT and VILLANTI, JJ., Concur.
